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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                 CRIMINAL NO. 1:07CR6
                                               (Judge Keeley)


 TRAVIS LOUGH
 a/k/a “Old Man,” ,

                   Defendant.


                    ORDER ADOPTING MAGISTRATE JUDGE'S
              RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA
             BE ACCEPTED AND SCHEDULING SENTENCING HEARING

       On July 25, 2007, defendant, Travis Lough, appeared before

 United States Magistrate Judge John S. Kaull and moved this Court

 for permission to enter a plea of GUILTY to Count Thirteen of the

 Superseding Indictment. The defendant stated that he understood

 that the magistrate judge is not a United States District Judge,

 and consented to pleading before the magistrate judge.           This Court

 had referred the guilty plea to the magistrate judge for the

 purposes of administering the allocution pursuant to Federal Rule

 of Criminal Procedure 11, making a finding as to whether the plea

 was knowingly and voluntarily entered, and recommending to this

 Court whether the plea should be accepted.

       Based upon the defendant's statements during the plea hearing

 and the testimony of Deputy Darwin Stout, the magistrate judge

 found that the defendant was competent to enter a plea, that the

 plea was freely and voluntarily given, that the defendant was aware

 of the nature of the charges against him and the consequences of
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 his plea, and that a factual basis existed for the tendered plea.

 On July 27, 2007, the magistrate judge entered an order finding a

 factual basis for the plea and recommended that this Court accept

 the plea of guilty to Count Thirteen of the Superseding Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the report and recommendation within ten (10)

 days after service of the report and recommendation. The magistrate

 judge further directed that failure to file objections would result

 in a waiver of the right to appeal from a judgment of this Court

 based on the report and recommendation.

       The parties did not file any objections.           Accordingly, this

 Court finds that the magistrate judge's recommendation should be

 ADOPTED and ACCEPTS the plea of guilty to Count Thirteen of the

 Superseding Indictment.

       The Court ADJUGES the defendant GUILTY of the crime charged in

 Count Thirteen of the Superseding Indictment.          Pursuant to Fed. R.

 Crim. P. 11(c)(3)(A) and U.S.S.G. § 6B1.1(c), acceptance of the

 proposed plea agreement is DEFERRED until the Court has received

 and reviewed the presentence report prepared in this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., it is hereby ORDERED that:

       1.    The    Probation     Officer     undertake     a    presentence

 investigation of TRAVIS LOUGH and prepare a presentence report for

 the Court;

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       2.     The Government and the defendant are to provide their

 versions of the offense to the Probation Officer by August 27,

 2007;

       3.     The    presentence      report   is    to   be   disclosed   to    the

 defendant, defense counsel, and the United States on or before
 September 27, 2007; however, the Probation Officer is directed not

 to   disclose      the   sentencing     recommendations       made   pursuant    to

 Fed. R. Crim. P. 32(b)(6)(A);

       4.     Counsel shall file WRITTEN OBJECTIONS to the presentence

 report     and   may     file   a   SENTENCING     MEMORANDUM   that   evaluates

 sentencing factors the parties believe to be relevant under 18

 U.S.C. § 3553(a) (including the sentencing range under the advisory

 Guidelines) and explains any proposed sentence, on or before
 October 11, 2007;

       5.     The Probation Officer shall submit to the Court the

 presentence report with addendum on or before October 25, 2007; and

       6.     Sentencing is set for November 7, 2007 at 10:30 a.m.

       7.     The Court remanded the defendant to the custody of the

 United States Marshals.

       It is so ORDERED.




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       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: August 10, 2007



                                     /s/ Irene M. Keeley
                                     IRENE M. KEELEY
                                     UNITED STATES DISTRICT JUDGE




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